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                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII


   EVE NEVADA, LLC                          )   Civil No. 20-00475 DKW-KJM
                                            )
                     Plaintiff,             )   ORDER (1) GRANTING
      vs.                                   )   PLAINTIFF’S SECOND MOTION
                                            )   FOR COURT ORDER
                                            )   AUTHORIZING DISCLOSURE;
    DIETRICH RILEY, et al.                  )   AND (2) AUTHORIZING
                                            )   SUBSCRIBER DISCLOSURE
                     Defendants.            )
                                            )
                                            )
                                            )

                  ORDER (1) GRANTING PLAINTIFF’S
           SECOND MOTION FOR COURT ORDER AUTHORIZING
      DISCLOSURE; AND (2) AUTHORIZING SUBSCRIBER DISCLOSURE

        On July 12, 2021, Plaintiff Eve Nevada, LLC (“Plaintiff”) obtained a Default

  Judgment against Defendant Corey R. Evans (“Defendant”). ECF No. 45. On

  April 25, 2022, Plaintiff filed a Second Motion for Court Order Authorizing

  Subscriber Disclosure (“Motion”) in connection with its attempts to enforce the

  judgment. ECF No. 52. The Court finds this matter suitable for disposition

  without a hearing pursuant to Rule 7.1(c) of the Local Rules of Practice for the

  United States District Court for the District of Hawaii.

        After carefully reviewing the filings and the record in this case, the Court

  GRANTS Plaintiff’s Motion and hereby AUTHORIZES and ORDERS non-party
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  Verizon Wireless to disclose financial information, including payment records and

  bank account information from October 1, 2020, to present, for Defendant as

  requested by Plaintiff in its subpoena to Verizon Wireless for purposes of enforcing

  the Default Judgment.

         FURTHERMORE, this Order shall be deemed a court order under California

  Public Utilities Code § 2894.

         IT IS SO ORDERED.

         DATED:        Honolulu, Hawaii, April 29, 2022




  Eve Nevada, LLC v. Dietrich Riley, et al., Civil No. 20-00475 DKW-KJM; Order (1) Granting
  Plaintiff Eve Nevada, LLC’s Second Motion for Court Order Authorizing Subscriber Disclosure;
  and (2) Authorizing Subscriber Disclosure




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